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         UNITED STATES BANKRUPTCY
         COURT DISTRICT OF NEW JERSEY
         Caption in Compliance with D.N.J. LBR 9004-2(c)
                                                                                    Order Filed on February 10, 2022
                                                                                    by Clerk
                                                                                    U.S. Bankruptcy Court
                                                                                    District of New Jersey




     LLT MANAGEMENT, LLC,                                               Case No. 21-30589 Chapter 11
                                Debtor.
                                                                        Judge Michael B. Kaplan




                 AMENDED ORDER IDENTIFYING NOMINEES FOR SELECTION AS
                         FUTURE TALC CLAIMS REPRESENTATIVE1

     The relief set forth on the following pages is hereby ORDERED.




DATED: February 10, 2022




     1
      The Order is amended for the sole purpose of correcting the name of one proposed Future Talc Claims Representative
     on the second page. The substance and body of this Order were not altered.
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        THE COURT having entered an Amended Order Amended Case Management Order

 setting selection protocol for Future Talc Claims Representative (“FTCR”) directing the Debtor

 and the Official Committees of Talc Claimants I & II to each submit ex parte to the Court up to

 three (3) names [for a total of six names] of nominees for appointment as the FTCR (ECF No.

 1135); and pursuant to the Amended Order, the Court adding its own nominees for consideration,

 and the Court having reviewed such submissions, and for good cause shown;

 IT IS ON THIS 10th DAY OF FEBRUARY, 2022, HEREBY ORDERED

 The following individuals have been nominated for possible appointment as a FTCR in this

 proceeding. Their background information accompanies this Order. (Names are listed

 alphabetically.)

       Marina Corodemus

       Randi S. Ellis

       Mark Falk

       Eric D. Green

       Joseph W. Grier, III

       Gary J. Russo

       Lawrence F. Stengel

       R. Scott Williams

 Parties are directed to proceed with consideration consistent with the Court’s Amended Case

 Management Order setting selection protocol for FTCR (ECF No. 1135).
